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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

EZRA SMITH,                 )
                            )
    Plaintiff,              ) CIVIL ACTION FILE NO.
                            ) 1:24-cv-05158-TWT
v.                          )
                            )
DEPUTY MONIQUE TRACEY,      )
DEPUTY RAUL GOMEZ, DEPUTY )
SHENEQUA JACKSON, and ERICA )
SANCHEZ,                    )
                            )
    Defendants.             )


  PROPOSED ORDER GRANTING LEAVE FOR DEFENDANT ERICA
        SANCHEZ TO FILE DOCUMENTS UNDER SEAL

      Having considered Defendant Sanchez’s request, she may file Document 12

under seal.

      So, ORDERED this ____ day of February, 2025.


                                   Judge Thomas W. Thrash, Jr.,
                                   United States District Court
                                   Northern District of Georgia
                                   Atlanta Division
